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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 JASON LEOPOLD and
 BUZZFEED, INC.,

                Plaintiff,

 v.

 UNITED STATES DEPARTMENT OF
 JUSTICE, et al.

                Defendants.
                                                           Case No: 1:19-cv-01278-RBW

 CABLE NEWS NETWORK, INC.,

                Plaintiff,

 v.

 FEDERAL BUREAU OF INVESTIGATION,

                Defendant.


                  THIRD NOTICE OF SUPPLEMENTAL AUTHORITY

       Plaintiffs Cable News Network, Inc., Jason Leopold and Buzzfeed Inc. (together,

“Plaintiffs”) respectfully submit this Notice to inform the Court of the Government’s Motion to

Dismiss the Criminal Information Against Defendant Michael T. Flynn in United States v. Flynn,

No. 1:17-cr-232 (EGS) (filed May 7, 2020) (Dkt. 198) (“Mot. to Dismiss Flynn” or “Motion”).

A true and correct copy of the Motion and its exhibits is attached hereto as Exhibit 1. The

Motion is relevant to this case because it is an in-court statement by Defendant Department of

Justice (“DOJ”) that contradicts Defendant’s position in its motion for partial summary judgment




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here, and the largely unredacted McCord 302 attached as an exhibit shows Defendant’s

Exemption 5 redactions to the version provided to Plaintiffs were overbroad.

       In its memoranda regarding the cross-motions for partial summary judgment, DOJ

asserted that the government misconduct exception could not apply in this case absent a showing

that the documents themselves were created in the course of government misconduct. Dkt. 72 at

23. DOJ argued that the 302s at issue are not subject to the government misconduct exception

because “Plaintiffs do not contend that the Special Counsel’s investigation was not a legitimate

government process or that the FD-302s were not created as part of that process.” Id.

       Now, however, it is DOJ itself that affirmatively asserts that the Russia Investigation was

illegitimate – at least as it applies to the case against Flynn. See Mot. to Dismiss Flynn at 17

(asserting that the FBI interview that formed the basis of the 18 U.S.C. § 1001 charge to which

Flynn pleaded guilty was part of “an investigation that had neither a legitimate

counterintelligence nor criminal purpose.”). As support for this contention that the investigation

was illegitimate, the Motion refers 26 times to the 302 narrative for the interview of Mary

McCord, the former head of DOJ’s National Security Division, a largely unredacted version of

which is attached as an exhibit. See Mot. to Dismiss Flynn Ex. 3 (Dkt. 198-4). Now that DOJ

has reversed itself and asserted to Judge Sullivan that the McCord 302 was part of an illegitimate

investigation, it cannot maintain its argument in this case that the government misconduct

exception could not apply to the McCord 302 (or, for that matter, to the 302s for interviews with

Flynn or any other witness in the Flynn portion of the Russia Investigation).

       The lightly redacted version of the McCord 302 attached to the Motion also shows that

much of the material redacted pursuant to Exemption 5 from the version provided to Plaintiffs
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was improperly withheld. For example, the exhibit to the Motion shows that DOJ had redacted

the following passages from the version provided to Plaintiffs:

              “McCord took notes on a variety of things, given the scope of her
               responsibilities.” Dkt. 198-4 at 1.

               “McGahn asked if Flynn had been interviewed by the FBI and Yates told him
               that he had been interviewed two days previously, on Tuesday.” Id. at 7. (The
               text in bold was redacted from the version provided to Plaintiffs.)

              Section heading: “Flynn’s Resignation and Aftermath.” Id. at 10.

              “On February 13, 2017, Flynn resigned from his position as National Security
               Advisor. Id.

              Section heading: “Comey Firing and Appointment of Special Counsel.” Id. at 11.

              “McCord provided nineteen pages of unclassified emails and a calendar printout,
               which she had pulled and reviewed in advance of the interview to refresh her
               memory. Those documents will be maintained in the case file.” Id. at 12.

       This factual material is not predecisional and deliberative, as the government has

contended. It is not protected by the deliberative process privilege, and it also does not reflect

the mental impressions of counsel, and thus is not protected as attorney work product. Indeed,

DOJ’s filing of this version of the McCord 302 in the Flynn case has waived any privilege that

might have legitimately attached to it.

       Because the Motion and its exhibits are highly relevant to this case, Plaintiffs respectfully

request that the Court take notice of it.

 Dated: May 18, 2020                         Respectfully submitted,

                                               /s/ Charles D. Tobin
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                                CERTIFICATE OF SERVICE

       I hereby certify that, on this date, I caused the foregoing to be filed and served

electronically via the Court’s ECF System upon counsel of record.



Dated: May 18, 2020                   /s/ Charles D. Tobin
                                             Charles D. Tobin
